

Matter of Kristina M. v Paul M. (2021 NY Slip Op 06957)





Matter of Kristina M. v Paul M.


2021 NY Slip Op 06957


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Gische, J.P., Webber, Oing, Singh, Higgitt, JJ. 


Docket No. O-5567/20 Appeal No. 14846 Case No. 2021-00901 

[*1]In the Matter of Kristina M., Petitioner-Respondent,
vPaul M., Respondent-Appellant.


Larry S. Bachner, New York, for appellant.
Carol Kahn, New York, for respondent.
Andrew J. Baer, New York, attorney for the children.



Order of fact-finding and disposition (one paper), Family Court, Bronx County (Ariel D. Chesler, J.), entered on or about February 9, 2021, which, after a hearing, determined that respondent husband committed the family offense of harassment in the second degree, and entered a one-year order of protection directing him, inter alia, to refrain from assaulting or harassing petitioner wife and the parties' two children until February 8, 2022, unanimously reversed, on the law and the facts, without costs and the matter remanded to Family Court for further proceedings.
Family Court erred in not conducting a full fact-finding hearing. The court improperly restricted the hearing, without notice to the parties to just 15-20 minutes and limited the testimony, including that of petitioner wife. Given this, Family Court is
directed to conduct a full hearing on the petition and make the requisite factual findings (see Matter of Langdon v Langdon, 137 AD3d 1580, 1582 [4th Dept 2016]). 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








